                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE – COURTROOM 3A

 Case #: 3:22-mj-2002                                                    Date: June 7, 2022

         United States of America          vs.   Matthew Jones (not present

  3UHVHQW%HIRUH Honorable Jill E. McCook, United States Magistrate Judge



   &RXUWURRP 'HSXW\                 Court Reporter                 /DZ&OHUN
   Julie Norwood                     DCR                             Michelle Gensheimer


   Asst. U.SAtty V                3UREDWLRQ2IILFHU V            $WW\ V IRU'HIHQGDQW V 
   Casey Arrowood                     Travis Worthington             Benjamin Sharp




   2WKHUV3UHVHQW
   Richie Bradley-DUSM


  3URFHHGLQJV
   Zoom status conference. Medical records for the defendant were received by Mr. Sharp on
   Friday, June 3, 2022 and provided to the USMS and AUSA Casey Arrowood. The defendant
   wishes to file a motion for release of the defendant and will file by the end of the day. The Court
   will set a briefing schedule if needed. This matter is continued for another status conference on
   June 14, 2022 at 2:00 p.m.




           'HIHQGDQWUHPDQGHGWRFXVWRG\        Defendant released on Order Setting Conditions of Release.

7LPH 10:00 a.m.         WR 10:15 a.m.

            Julie Norwood
            ,                'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH
  Case 3:22-mj-02002-JEM  Document
          .QR['&5B 322mj2002         25    Filed 06/07/22 Page093116
                                       20220607                       1 of 1 PageID #: 48
